
31 N.Y.2d 684 (1972)
Virginia J. Barry, Appellant,
v.
American Home Assurance Company, Respondent.
Court of Appeals of the State of New York.
Argued September 25, 1972.
Decided October 5, 1972.
Melvin I. Friedman and Gerald A. Robbie for appellant.
Patrick F. Foley for respondent.
Concur: Chief Judge FULD and Judges BURKE, SCILEPPI, BERGAN, BREITEL, JASEN and GIBSON.
Order affirmed, without costs (see Silver v. Great Amer. Ins. Co., 29 N Y 2d 356). The defendant-respondent has stipulated  through counsel  that it will accept service of process in either Pennsylvania or Delaware, if the plaintiff elects to bring suit in one or the other of those jurisdictions, and that it will waive any defense based upon the Statute of Limitations.
